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 8                              IN THE UNITED STATES DISTRICT COURT
 9                            FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   BRIANNA GARCIA, et al.,                                   CASE NO. CV F 08-1720 LJO SMS
12                            Plaintiff,                       ORDER TO DENY REQUEST TO DISMISS
              vs.                                              (Doc. 40.)
13
     CITY OF CERES POLICE
14   DEPARTMENT, et al.,
15                            Defendant.
                                                    /
16
17            Plaintiffs filed an April 2, 2010 request to dismiss this action. Plaintiffs’ attempt to dismiss this
18   action fails to comply with F.R.Civ.P. 41(a)(1)(A)(ii), which requires a stipulation signed by defendants
19   who have appeared. As such, this Court DENIES dismissal of this action in the absence of compliance
20   with F.R.Civ.P. 41(a)(1)(A)(ii). This Court ORDERS plaintiffs and defendants, no later than April 15,
21   2010, to file either: (a) a stipulation which satisfies F.R.Civ.P. 41(a)(1)(A)(ii) and a proposed order to
22   dismiss defendants; or (b) papers to show good cause why the parties have failed to comply with
23   F.R.Civ.P. 41(a)(1)(A)(ii). This Court ADMONISHES counsel to obey the Federal Rules of Civil
24   Procedure and this Court’s Local Rules. This Court FURTHER ADMONISHES counsel that failure
25   to comply with this order in the absence of good cause will result in imposition of sanctions, including
26   dismissal of this action with or without prejudice.
27            IT IS SO ORDERED.
28   Dated:         April 5, 2010                           /s/ Lawrence J. O'Neill

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 1   66h44d                           UNITED STATES DISTRICT JUDGE
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